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PAUL J. FISHMAN
United States Attorney
LEAH A. BYNON
Assistant U.S. Attorney
970 Broad Street, Suite 700
Newark, NJ 07102
(973) 645-2736

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA,                    :    Hon. William H. Walls

                Plaintiff,                   :    Criminal Action No. 98-142

       v.                                    :                            ORDER

Michael Rice,

                Defendant.

      This matter having been opened to the Court by Paul J. Fishman, United States

Attorney for the District of New Jersey (Leah A. Bynon, Assistant U.S. Attorney,

appearing), attorney for plaintiff United States for an Order Compelling defendant to

comply with plaintiffs Subpoena for financial information/documentation and the

appearance at deposition; and the Court having considered the matter and for good and

sufficient cause shown,
                         .i/f      I
       ITlSonthis fI dayof             //L                 2010

      ORDERED that defendant appear at the Office of the United States Attorney for

the District of New Jersey, 970 Broad Street, Suite 700, Newark, New Jersey on

September 30, 2010 at 11:00 am for a deposition; on or before that same date, defendant
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                                      umenta on requested in the
shall produce the requested financial information,
                                      7

subpoena.



                            UNITED STATES DIS RICT JUDGE
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                                                                   United States District Court


                                                                DISTRICT OF NEW JERSEI


    UNITED STATES OF AMERICA,                                                                SUBPOENA

                                                      Plaintiff,
                                                                                            CRIMINAL NUMBER: 98-142
                                                 V.


    MICHAEL RICE,

                                                      Defendant.

   TO:          Michael Rice
                70 Mertz Ave
                Hillside, NJ 07205


   YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition in
   the above case.
   **you are required to contact AUSA LEAH A. BYNONat 973-645-2736 to confirm your appearance
                                                                                                  at the scheduled
   deposition.

      PlACE OF DEPOSITION
                                                                                                           DATE AND TIME
     U.S. Attorney’s Office                                                                                July 15,2010 at 10:00 AM
     970 Broad Street, Suite 700
     Newark, New Jersey 07102
  YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the
  place, date, and time specified below.
     LIST DOCUMENTS OR OBJECTS:

     PLEASE SEE ENCLOSED LIST OF DOCUMENTS TO BE PRODUCED

     ftACE                                                 .
                                                                                                         DATE AND TiME
    U.S. Attorney’s Office                                                                               July 9, 2010
    970 Broad Street, Suite 700
    Newark, New jersey 07102

 Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more
 officers, directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for each
 )erson designated, the matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).
    ISSUING OFFICER SIGNATUIW &       E (INDICATE IF ATTORNEY FOR PlAINTiFF OR DEFENDANT)                DATE

                  M/A
                 -/‘        //ç                 --.-.-.-

                                                                                                         June8,2010
   AssistantU. Attorney Attorney for Plaintiff

   ISSUING OFFICERS NAMt ADDRESS AND PHONE NUMBER

   LEAH A. BYNON,
   U.S. Attorney’s Office, 970 Broad Street, Suite 700, Newark, NJ 07102, (973) 645-2736
(See Ruje 45. Federal Rules of Civil Procedure, Parts C & D on Reverse)
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                                                                      PROOF OF SERVICE
                                                        DATE                                     PLACE

        SERVED

        SERVED ON (PRINT NAME)                                                                   MANNER OF SERVICE




        SERVED BY (PRINT NAME)                                                                   TITLE




                                                                 DECLARATION OF SERVER
        I declare under penalty of perjury under the laws of the                                SIGNATURE OF SERVER

        United States of America that the foregoing information
        contained in the Proof of Service is true and correct.
                                                                                                ADDRESS OF SERVER

        Executed on
                           DATE




  Rule 45, Federal Rules of Civil Procedure. Parts C & D:                                            this rule, such a person may in order to attend trial be commanded to
  (c)         PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.                                            travel from any such place within the state in which the trial is held, or
           (I) A party or an attorney responsible for the issuance and service of                              (iii) requires disclosure of privileged or other protected
 a subpoena shall take reasonable steps to avoid imposing undue burden or                            matter and not exception or waiver applies, or
 expense on a person subject to that subpoena. The court on behalf of which the                                 (iv) subjects a person to undue burden.
 subpoena was issued shall enforce this duty and impose upon the party or
 attorney in breach of this duty an appropriate sanction, which may include, but is                  (B) If a subpoena
 not limited to. lost earnings and a reasonable attorney’s fee.                                                 (I) requires disclosure of a trade secret or other
              (2)(A) A person commanded to produce and permit inspection and                        confidential research, development,or commercial information, or
 copying of designated books, papers, documents or tangible things, or inspection                               (ii) requires disclosure of an unretained expert’s opinion or
 of premises need not appear in person at the place of production or inspection                     information not describing specific events or occurrences in dispute
 unless commanded to appear for deposition, hearing or trial.                                       and resulting from the expert’s study made not at the request of any
             (B) Subject to paragraph (d)(2) of this rule, a person commanded to                    party, or
 produce and permit inspection and copying may, within 14 days after service of                                  (iii) requires a person which is not a party or an officer of
 the subpoena or before the time specified for compliance if such time is less than                 a party to incur substantial expense to travel more than 100 miles to
 14 days after service, serve upon the party or attorney designated in the subpoena                 attend trial, the court may, to protect a person subject to or affected
written objection to inspection or copying of any or all of the designated material                 by the subpoena, quash or modify the subpoena or, if the party in
or of the premises. If objection is made, the party serving the subpoena shall not                  whose behalf the subpoena is issued shows a substantial need for the
be entitled to inspect and copy the materials or inspect the premises except                        testimony or material that cannot be otherwise met without undue
pursuant to an order of the court by which the subpoena was issued. If objection                    hardship and assures that the person to whom the subpoena is
has been made, the party serving the subpoena may, upon notice to the person                        addressed will be reasonably compensated, the court may order
commanded to produce, move at any time for an order to compel the                                   appearance or production only upon specified conditions.
production. Such an order to compel production shall protect any person who
is not a party or an officer of a party from significant expense resulting from the     (d) DUTIES IN RESPONDING TO SUBPOENA.
inspection and copying commanded.                                                                  (I) A person responding to a subpoena to product documents shall
            (3)(A) On a timely motion, the court by which a subpoena was issued         product them as they are kept in the usual course of business or shall organize
shall quash or modify the subpoena if it                                                them to correspond with the categories in the demand.
                        (i) fails to allow reasonable time for compliance;                         (2) When information subject to a subpoena is withheld on a claim that
                        (ii) requires a person who is not a party or an officer of a    t is privileged or subject to protection as trial preparation materials, the claim
            party to ravel to a place more than 100 miles from the place where          shall be made expressly and shall be supported by a description of the nature of
            that person resides, is employed or regularly transacts business in         the documents, communications, or things not produced that is sufficient to
            person, except that subject to the provisions of clause (c)(3)(B)(iii) of   enable the demanding party to contest the claim.
